       Case 2:13-cr-00330-KJM Document 374 Filed 06/13/17 Page 1 of 5


 1

 2

 3

 4

 5

 6

 7

 8                                  UNITED STATES DISTRICT COURT
 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                       No. 2:13-CR-00330-KJM
12                     Plaintiff,
13           v.                                      ORDER
14   GLEN EDWARD MEYERS,
15                     Defendant.
16

17                  Lila Meyers, wife of defendant Glen Edward Meyers, moves this court for

18   disbursement of funds. In her motion, Lila Meyers argues that the court should order non-

19   forfeited funds transferred to her because defendant Meyers had an extramarital affair and

20   “cannot be trusted to provide [Mrs.] Meyers her portion of the funds.” Mot., ECF No. 370. The

21   United States opposes the motion. Opp’n, ECF No. 372. For the reasons discussed below, the

22   court DENIES Lila Meyers’s motion.

23      I.        BACKGROUND
24                  In October 2013, defendant Glen Meyers and three co-defendants were indicted on
25   charges for their involvement in an interstate marijuana ring. ECF No. 7. In November 2013, the
26

27

28
                                               1
       Case 2:13-cr-00330-KJM Document 374 Filed 06/13/17 Page 2 of 5


 1   United States filed a Bill of Particulars1 indicating it sought to forfeit $6,500 in money orders and
 2   two brokerage accounts maintained by defendant Meyers, as constituting drug proceeds. ECF
 3   No. 36. The account balances in these two brokerage accounts exceeded $300,000 in stock value.
 4   The accounts were maintained at Scottrade Brokerage and E*Trade Securities, and were
 5   previously seized by the government based on the involvement of the funds in the accounts in
 6   commission of a crime. Id.
 7                  On December 5, 2014, defendant Meyers pled guilty to one count of conspiracy to
 8   distribute and to possess with intent to distribute at least 100 kilograms of marijuana in violation
 9   of 21 U.S.C. §§ 846 and 841(a)(1), and one count of conspiracy to launder monetary instruments
10   in violation of 18 U.S.C. § 1956(h). ECF No. 110. Defendant Meyers’s plea agreement included
11   his agreement to forfeit the money orders, as well as the funds in the two brokerage accounts,
12   except for $111,834.00 held in the E*Trade account that predated the commission of defendant
13   Meyers’s crimes. Id. at § E, Forfeiture. The plea agreement specified the $111,834.00 in the
14   E*Trade account would be returned to defendant Meyers as the sole owner of the account. Id.
15                  On December 30, 2014, the court entered a preliminary order of forfeiture of the
16   money orders and “all funds” in the brokerage accounts except for the $111,834.00 held in the
17   E*Trade account. ECF No. 113. The United States provided potential claimants with notice of
18   this preliminary order in accordance with 21 U.S.C. § 853(n), 18 U.S.C. § 1963(1) and Local
19   Rule 171. See Decl. of Publication, ECF No. 120 at 1 (Noting “the forfeiture was posted on the
20   official government internet site www.forfeiture.gov for at least 30 consecutive days beginning
21   on January 8, 2015, and ending on February 6, 2015.”).
22                  On June 6, 2015, Lila Meyers filed a petition contesting the forfeiture of funds in
23   defendant Meyers’s bank accounts, asserting she has a community property interest in the
24   forfeited bank accounts based on her marriage to defendant Meyers, and requesting an ancillary
25   hearing on the matter. ECF No. 173. In her petition, Lila Meyers acknowledged “[she] is not a
26          1
               A bill of particulars, as provided by Federal Rule of Criminal Procedure 7(f), is “a
27   detailed listing of charges or claims brought in a legal action or of a defendant’s response or
     counterclaim.” Bill of Particulars Definition, Merriam-Webster.com (last visited June 12, 2017).
28
                                                2
       Case 2:13-cr-00330-KJM Document 374 Filed 06/13/17 Page 3 of 5


 1   named title holder of the account[s] in question.” Id. at 2-3. On January 20, 2016, Lila Meyers
 2   withdrew her petition, ECF No. 325, and six days later the court entered a final order of forfeiture
 3   as to the assets forfeited by defendant Meyers, not including $111,834.00, ECF No. 327. It was
 4   not until October 3, 2016, that Lila Meyers filed her pending motion to disburse funds. ECF No.
 5   370.
 6                   As noted, Lila Meyers asks the court to disburse defendant Meyers’s non-forfeited
 7   funds to her because he had an extramarital affair and “cannot be trusted to provide [Lila] Meyers
 8   her portion of the funds.” ECF No. 370. The United States opposes the motion. Opp’n. Lila
 9   Meyers has not replied.
10       II.     DISCUSSION
11                   The United States argues the court should deny Lila Meyers’s motion for lack of
12   standing. It also says even if she had standing, the funds she demands are not within the purview
13   of this criminal case. Opp’n at 3.
14                   Courts impose criminal forfeiture as punishment following conviction for a
15   substantive criminal offense. United States v. Lazarenko, 476 F.3d F.3d 648, 642 (9th Cir. 2007).
16   Criminal forfeiture operates in personam against a defendant to divest him of proceeds derived
17   from his unlawful activity, as a consequence of his criminal conviction. Id. If assets are
18   criminally derived, the court will enter a preliminary order of forfeiture that begins the ancillary
19   proceeding in which third parties may litigate any alleged interest in forfeited property. See Fed.
20   R. Crim. P. Rule 32.2(b)(3) (“The entry of a preliminary order of forfeiture authorizes the
21   Attorney General . . . to commence proceedings that comply with any statutes governing third-
22   party rights.”). Property or proceeds excluded from preliminary forfeiture are not subject to any
23   ancillary proceeding. Cf. United States v. Andrews, 530 F.3d 1232, 1236 (10th Cir. 2008) (court’s
24   initial finding of forfeitability is prerequisite to property’s inclusion in preliminary forfeiture
25   order). Only “property involved in the offense or any property traceable as proceeds to it” can be
26   forfeited; the forfeiture laws do not extend to innocent property a defendant owned. United States
27   v. Capoccia, 503 F.3d 103, 109 (2d Cir. 2007).
28
                                                 3
       Case 2:13-cr-00330-KJM Document 374 Filed 06/13/17 Page 4 of 5


 1                  As a threshold matter, Lila Meyers has not established standing to advance her
 2   motion. Lila Meyers’s appearance in this action prior to entry of the final order of forfeiture was
 3   temporary and limited to filing a claim for the assets proposed for forfeiture from defendant
 4   Meyers in the preliminary forfeiture order. But her motion seeks the $111,834.00 held in the
 5   E*Trade account, which was expressly excluded from the forfeiture order. Lila Meyers lacks
 6   standing to bring her motion.
 7                  Even if Lila Meyers had standing, she has provided no other basis for the court’s
 8   exercise of jurisdiction over the funds in which she claims to have an interest. The funds were
 9   excluded from every facet of this prosecution once a plea deal was reached, from the plea
10   agreement to the preliminary forfeiture order to the ancillary proceeding. See ECF Nos. 110, 113,
11   197, 326. Because defendant Meyers did not forfeit the funds Lila Meyers seeks, the court has no
12   power to order their transfer to her. Rather, after bank records established the funds predated
13   defendants Meyers’s criminal scheme, the United States excluded those funds from forfeiture and
14   agreed to release them to Mr. Meyers as the account holder. ECF No. 110.
15                  Lila Meyers claims 28 U.S.C. § 2465(b)(1)(C) entitles her to the “funds seized in
16   the forfeiture action of the above-captioned case, as well as any interest gained since its seizure.”
17   Mot. at 2. That provision of law applies only to “civil proceedings … in which the claimant
18   substantially prevails” against the United States. 28 U.S.C. § 2465(b)(1)(C). This is a criminal
19   proceeding and Lila Meyers has not “substantially prevailed.” Lila Meyers further claims “the
20   government stipulated she was entitled to $111,834.00.” Mot. at 1 (citing ECF No. 325). The
21   filing she references, however, is her withdrawal of her ancillary petition, which she signed as did
22   her attorney; although it appears the government drafted the document, it is not styled as an
23   agreement and no representative of the government signed it. See ECF No. 325. While the
24   withdrawal language could have been more clearly drafted to clarify that Lila Meyers was
25   sacrificing any ability to pursue the $111,834.00 in this court, the lack of clarity does not alter any
26   of the court’s conclusions above.
27                  Because Lila Meyers lacks standing to bring her motion, and this court lacks
28   jurisdiction over the specific funds Lila Meyers seeks, the court DENIES her motion.
                                                 4
      Case 2:13-cr-00330-KJM Document 374 Filed 06/13/17 Page 5 of 5


 1              IT IS SO ORDERED.
 2              This resolves ECF No. 370.
 3   DATED: June 12, 2017.
 4

 5
                                        UNITED STATES DISTRICT JUDGE
 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                         5
